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                                         EXHIBIT A

                                OCP Quarterly Payment Report




DOCS_DE:245604.1 96859/001
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Yellow Corporation
OCP Quarterly Payment Report
Payments from 8/6/23 to 9/30/23

                                                                                                          August             September                           Average
                   Professional              Tier                     Types of Service                   Payments            Payments           Total        Monthly Payments
Husch Blackwell LLP                          Tier 1   Legal ‐ Real Estate                            $              ‐    $            ‐     $           ‐    $            ‐
McDermott, Will & Emery LLP                  Tier 1   Legal ‐ Workers Compensation                                  ‐                 ‐                 ‐                 ‐
Morgan, Lewis & Bockius LLP                  Tier 1   Legal ‐ Employment                                            ‐                 ‐                 ‐                 ‐
Ogletree, Deakins, Nash, Smoak & Stewart,    Tier 1   Legal ‐ Employment                                            ‐                 ‐                 ‐                 ‐
Proskauer Rose LLP                           Tier 1   Legal ‐ Labor                                                 ‐                 ‐                 ‐                 ‐
                               (1)           Tier 1   Actuarial Services                                            ‐            1,294.00         1,294.00             647.00
Willis Towers Watson US LLC
Altus Group                                  Tier 2   Accounting ‐ Tax                                              ‐                 ‐                 ‐                 ‐
Basham, Ringe y Correa, S.C.                 Tier 2   Legal ‐ Mexican Counsel                                       ‐                 ‐                 ‐                 ‐
Burns & McDonnell, Inc.                      Tier 2   Consulting ‐ Environmental                                    ‐                 ‐                 ‐                 ‐
Carr, Allison, Oliver & Sisson LLP           Tier 2   Legal ‐ Injury and Property Damage                            ‐                 ‐                 ‐                 ‐
Ethority (dba Equifax)                       Tier 2   Tax and Consulting Services                                   ‐                 ‐                 ‐                 ‐
Filion, Wakely, Thorup & Angeletti LLP       Tier 2   Legal ‐ Canadian Counsel                                      ‐                 ‐                 ‐                 ‐
Hemenway & Barnes LLP                        Tier 2   Legal ‐ Taxation                                              ‐                 ‐                 ‐                 ‐
Hunton Andrews Kurth LLP                     Tier 2   Legal ‐ Taxation                                              ‐                 ‐                 ‐                 ‐
Maher, Brannigan & Heywood PC                Tier 2   Legal ‐ Taxation                                              ‐                 ‐                 ‐                 ‐
Origami Risk LLC                             Tier 2   Consulting ‐ Safety and Compliance                            ‐                 ‐                 ‐                 ‐
Ryan Law                                     Tier 2   Legal ‐ Taxation                                              ‐                 ‐                 ‐                 ‐
Schroder & Strom LLP                         Tier 2   Legal ‐ Taxation                                              ‐                 ‐                 ‐                 ‐
Serviam Consulting                           Tier 2   Consulting ‐ Information Technology                           ‐                 ‐                 ‐                 ‐
TekSystems                                   Tier 2   Consulting ‐ Information Technology                           ‐                 ‐                 ‐                 ‐
Thomas & Company                             Tier 2   Employment Verification Services                              ‐                 ‐                 ‐                 ‐
Amari & Locallo                              Tier 3   Legal ‐ Taxation                                              ‐                 ‐                 ‐                 ‐
Armanino LLP                                 Tier 3   Auditors ‐ Benefits Plan                                      ‐                 ‐                 ‐                 ‐
Creative Planning                            Tier 3   Consulting Services and Investment                            ‐                 ‐                 ‐                 ‐
Dexter Hofing LLC                            Tier 3   Actuarial Services                                            ‐                 ‐                 ‐                 ‐
Gowling Lafleur Henderson LLP                Tier 3   Legal ‐ Corporate Counsel                                     ‐                 ‐                 ‐                 ‐



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Yellow Corporation
OCP Quarterly Payment Report
Payments from 8/6/23 to 9/30/23

                                                                                                           August             September                             Average
                 Professional                     Tier                 Types of Service                   Payments            Payments             Total        Monthly Payments
MarksNelson                                      Tier 3   Accounting ‐ Tax                                           ‐                 ‐                   ‐                 ‐
Property Tax Advisory Group                      Tier 3   Consulting ‐ Tax                                           ‐                 ‐                   ‐                    ‐
Scopelitis, Garvin, Light, Hanson & Feary PC     Tier 3   Legal ‐ Transportation                                     ‐                 ‐                   ‐                    ‐
Stewart, McKelvey, Sterling, Scales LLP          Tier 3   Legal ‐ Canadian Regulatory                                ‐                 ‐                   ‐                    ‐
Tax Advisors Group LLC                           Tier 3   Consulting ‐ Tax                                           ‐                 ‐                   ‐                    ‐
Worsek & Vihon                                   Tier 3   Legal ‐ Taxation                                           ‐                 ‐                   ‐                    ‐
 Total Payments                                                                                       $              ‐    $       1,294.00   $       1,294.00   $            647.00


Footnote:

(1) Willis Towers Watson US LLC was inadvertently paid $1,294 on September 29, 2023. Willis Towers Watson US LLC subsequently filed their Declaration of Disinterestedness
    on October 17, 2023. The Objection Period for Willis Towers Watson US LLC's Declaration of Disinterestedness expires on October 31, 2023. To date, there have been no
    objections filed, and the Debtors do not anticipate any objections.




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